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 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 NEAL C. HONG (ILBN 6309265)
   Assistant United States Attorney
 5
          150 Almaden Boulevard, Suite 900
 6        San Jose, California 95113
          Telephone: (408) 535-5081
 7        neal.hong@usdoj.gov
 8 Attorneys for United States of America

 9                                   UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11                                           SAN JOSE DIVISION
12                                                    ) NO.: 21-mj-70800 MAG
     UNITED STATES OF AMERICA,                        )
13                                                    ) STIPULATION TO CONTINUE STATUS
            Plaintiff,                                ) CONFERENCE; [PROPOSED] ORDER
14                                                    )
     v.                                               )
15 RODRIGO LARA-LOPEZ,                                )
                                                      )
16         Defendant.                                 )
                                                      )
17                                                    )
18         The parties respectfully request that the status conference currently scheduled for October 8,

19 2021 at 1:00 p.m. be continued to November 18, 2021 at 1:00 p.m. The parties make this request to

20 give defense counsel the opportunity to review important discovery that will be produced soon, and for

21 the Government to produce additional forthcoming discovery, both of which may bear on the potential

22 disposition in this case.

23         The parties further stipulate and agree that the time between October 8, 2021 and November 18,

24 2021, should be excluded to allow for effective preparation of counsel, taking into account the exercise

25 of due diligence, and that the ends of justice served by granting the request outweigh the best interests

26 of the public and the defendant in a speedy trial. The parties further stipulate and agree that, given the

27 need to investigate matters which may bear on the disposition in the case, good cause exists for

28 extending the time limits for a preliminary hearing under Federal Rule of Criminal Procedure 5.1(d),

      STIPULATION AND [PROPOSED] ORDER
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 1 and defense counsel accordingly consents on behalf of the defendant to extending the time limit for the

 2 preliminary hearing. The parties further stipulate and agree to an extension of time for the 30-day time

 3 period of an indictment under the Speedy Trial Act.

 4

 5 DATED: October 6, 2021                                Respectfully submitted,
 6
                                                         STEPHANIE M. HINDS
 7
                                                         Acting United States Attorney
 8

 9                                                       s/ Neal Hong
                                                         NEAL C. HONG
10                                                       Assistant United States Attorney
11
                                                         s/ Alfredo Morales________________________
12                                                       ALFREDO MORALES
                                                         Attorney for Rodrigo Lara Lopez
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      STIPULATION AND [PROPOSED] ORDER
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 1                                         [PROPOSED] ORDER
 2          Pursuant to the parties’ stipulation, and for good cause shown, the Court HEREBY ORDERS
 3 that the status conference currently scheduled for October 8, 2021 be continued until November 18,

 4 2021. For good cause shown, the Court further finds that failing to exclude the time between October

 5 8, 2021 and November 18, 2021 would deny counsel the reasonable time necessary for effective

 6 preparation, taking into account the exercise of due diligence, and that the ends of justice served by

 7 excluding that time from computation under the Speedy Trial Act outweigh the best interests of the

 8 public and the defendant in a speedy trial.

 9          Therefore, IT IS HEREBY FURTHER ORDERED that the time between October 8, 2021 and
10 November 18, 2021 shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. §

11 3161(h)(7)(A) and (B)(iv).

12          The Court further finds good cause exists for extending the time limits for a preliminary
13 hearing under Federal Rule of Criminal Procedure 5.1 and for extending the 30-day time period for an

14 indictment under the Speedy Trial Act. See Fed. R. Crim. P. 5.1; 18 U.S.C. § 3161(b).

15 IT IS SO ORDERED.

16

17 DATED: ___________________
           October 6, 2021
18                                                       HON. VIRGINIA K. DEMARCHI
                                                         United States Magistrate Judge
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     [PROPOSED] ORDER
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